

Matter of Hope B. (Rochelle B.) (2020 NY Slip Op 00762)





Matter of Hope B. (Rochelle B.)


2020 NY Slip Op 00762


Decided on January 31, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 31, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, CURRAN, AND TROUTMAN, JJ.


1206 CAF 18-01489

[*1]IN THE MATTER OF HOPE B. ONONDAGA COUNTY DEPARTMENT OF CHILDREN AND FAMILY SERVICES, PETITIONER-RESPONDENT; ROCHELLE B., RESPONDENT-APPELLANT. (APPEAL NO. 1.)






D.J. &amp; J.A. CIRANDO, PLLC, SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR RESPONDENT-APPELLANT.
ROBERT A. DURR, COUNTY ATTORNEY, SYRACUSE (JOSEPH MARZOCCHI OF COUNSEL), FOR PETITIONER-RESPONDENT.
ARLENE BRADSHAW, SYRACUSE, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Onondaga County (Michael L. Hanuszczak, J.), entered June 21, 2018, and corrected on August 24, 2018, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, continued the placement of the subject child with petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: January 31, 2020
Mark W. Bennett
Clerk of the Court








